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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION


 UNITED STATES OF AMERICA               )
                                        )
             v.                         )    CAUSE NO. 3:08-CR-00121(01)RM
                                        )
 RICO TORIANO KIMBROUGH                 )


                                     ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on April 27, 2009. Accordingly, the

 court ADOPTS those findings and recommendations [docket # 31], ACCEPTS

 defendant Rico Kimbrough’s pleas of guilty, and FINDS the defendant guilty of

 Counts 1 and 2 of the Indictment, in violation of 18 U.S.C. §§ 2113(d), 2, and

 924(c).

       SO ORDERED.

       ENTERED:      May 15, 2009



                                /s/ Robert L. Miller, Jr.
                               Chief Judge
                               United States District Court
